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                      UNITED STATES DISTRICT COURT
                      DISTRICT COURT OF MINNESOTA

IN RE PORK ANTITRUST                        Case No. 18-cv-01776 (JRT-JFD)
LITIGATION
                                            MEMORANDUM OF LAW IN
                                            SUPPORT OF MOTION TO
This Document Relates To:                   PRELIMINARILY APPROVE
                                            THE DIRECT PURCHASER
THE DIRECT PURCHASER                        PLAINTIFF CLASS’S
PLAINTIFF CLASS ACTION                      PROPOSED SETTLEMENTS
                                            WITH THE TYSON, CLEMENS,
                                            AND TRIUMPH DEFENDANTS,
                                            AND TO APPROVE CLASS
                                            NOTICE




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I.          INTRODUCTION

            The Direct Purchaser Plaintiffs (“DPPs”) in this certified antitrust class action

respectfully move the Court to (1) preliminarily approve proposed settlements of their

claims against the Tyson,1 Clemens,2 and Triumph3 Defendants, and (2) approve the

content and dissemination of the notice (see Section VI below).4

            Pursuant to the Settlement Agreements and as set forth below, Tyson will pay

$50 million plus notice and administration costs of up to $2 million, Clemens will pay

$10 million, and Triumph will pay $4 million. These settlements total $64 million, and

bring the total amount recovered by the DPP Class to $180,470,300. (See Pearson Decl.

¶ 5.) These Settlements provide the DPP Certified Class with significant and substantial

relief, and resolve all claims in this litigation against the Pork integrators, with only

Defendant Agri Stats, Inc. remaining.

            As discussed in this memorandum, the Settlement Agreements are the product of

separate, confidential, protracted arm’s-length settlement negotiations. The Settlements

should be granted preliminary approval because they are within the range of possible final



     1
      Tyson Foods, Inc., Tyson Prepared Foods, Inc., and Tyson Fresh Meats, Inc.
(collectively, “Tyson”).
     2
    Clemens Food Group, LLC and The Clemens Family Corporation (collectively,
“Clemens”).
     Triumph Foods, LLC (“Triumph,” and with Tyson and Clemens, the “Settling
     3

Defendants”).
     4
     Unless otherwise noted, all capitalized terms shall have the same meaning as in the
Settlement Agreements (also referred to herein as “Settlements”), which are filed
concurrently herewith as Exhibits A (Tyson), B (Clemens), and C (Triumph) to the
Declaration of Michael H. Pearson (“Pearson Decl.”).


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approval, are fair, reasonable, and adequate, and are in the best interests of the Certified

Class members. In addition to approving the notice plan set forth herein, DPPs request that

the Court set a schedule for the Final Fairness Hearing of the Settlements. At the Final

Fairness Hearing, Co-Lead Class Counsel5 will request entry of a final order and judgment

dismissing the Settling Defendants and retaining jurisdiction for the implementation and

enforcement of the Settlement Agreements.

            With regard to the notice plan, the Court previously granted DPPs’ motion for class

certification as to the non-settling Defendants, which included Tyson, Clemens, and

Triumph. (See generally Memorandum Opinion and Order dated March 29, 2023, ECF No.

1887 (“Class Certification Order” or “Cert. Order”).) On August 25, 2023, this Court

approved the Class Notice Plan, which provided Certified Class members a final

opportunity to opt out of the Certified Class. (See ECF No. 2014.) That Class Notice Plan

was successfully implemented and on January 24, 2024 this Court entered an order

approving the final exclusion list. (See ECF No. 2086.) DPPs now seek approval of the

content and dissemination of their notice plan related to the Settlements with the Settling

Defendants, which will notify Certified Class members of the Settlements and their terms,

and will provide an opportunity to object to the Settlements, but not a further opportunity

to opt out of the Class. (See Section V below.) Consistent with the notices already approved

by this Court and disseminated for the four DPP settlements to date, the proposed multi-

method notice plan includes direct-mailed notices, email notices, notices published online,


    5
    Co-Lead Class Counsel are Lockridge Grindal Nauen PLLP and Pearson Warshaw,
LLP. (See Cert. Order at 68.)


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and a continuing informational website and toll-free telephone line to communicate with

Class members. As described in this memorandum, the proposed notices and notice plan

meet the requirements for Rule 23 notice and accordingly should be approved. The Settling

Defendants have reviewed the notice documents and do not object to their contents.

(Pearson Decl. ¶ 18.)

II.         LITIGATION BACKGROUND

            This is an antitrust class action against certain producers of Pork. DPPs filed their

class action lawsuit on June 29, 2018, and it and subsequently-filed cases were consolidated

before Judge John R. Tunheim in this Court. DPPs allege that Defendants combined and

conspired to fix, raise, maintain, or stabilize prices of Pork sold in the United States in

violation of the Sherman Act, 15 U.S.C. § 1. (See generally DPP Third Consolidated and

Amended Complaint, ECF No. 431.) DPPs allege that Defendants implemented their

conspiracy in various ways, including via coordinated supply restrictions, sharing

competitively sensitive price and production information, and otherwise manipulating Pork

prices. (Id.)6

            Defendants moved to dismiss all Plaintiffs’ complaints. In August 2019, the Court

granted their motions and granted Plaintiffs leave to amend. (ECF No. 360.) DPPs amended

their complaint, and after extensive briefing by the parties, on October 16, 2020, the Court



      6
     Unlike other civil antitrust actions, this case was developed and brought without the
benefit of a formal antitrust investigation by the U.S. Department of Justice or the
assistance of a leniency applicant under the Department of Justice’s Corporate Leniency
Program.     See     Corporate      Leniency      Policy,   U.S.    Dep’t    of    Justice,
https://www.justice.gov/atr/corporate-leniency-policy.


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largely denied Defendants’ motions to dismiss. (ECF No. 519, amended Oct. 20, 2020,

ECF No. 520.)

            Since the initial complaint was filed, DPPs have continued their factual

investigation into the conspiracy alleged in their complaint, and once the Court largely

denied Defendants’ motions to dismiss Plaintiffs’ complaints, DPPs commenced extensive

discovery. (See Pearson Decl. ¶ 3.) During discovery, DPPs obtained responses to multiple

sets of interrogatories, and received millions of documents in response to their requests for

production and third-party subpoenas. (See Id. ¶ 4.) DPPs, along with other plaintiffs, have

taken dozens of depositions of the Defendants and third parties. (Id.) DPPs have also

provided responses to written discovery, produced documents, and DPPs’ named

representatives have appeared for depositions noticed by the Defendants. (Id.)

            On March 29, 2023, the Court certified the following DPP Class:

            All persons and entities who directly purchased one or more of the following
            types of pork, or products derived from the following types of pork, from
            Defendants, or their respective subsidiaries or affiliates, for use or delivery
            in the United States from June 29, 2014 through June 30, 2018: fresh or
            frozen loins, shoulders, ribs, bellies, bacon, or hams. For this lawsuit, pork
            excludes any product that is marketed as organic or as no antibiotics ever
            (NAE); any product that is fully cooked or breaded; any product other than
            bacon that is marinated, flavored, cured, or smoked; and ready-to-eat bacon.

            Excluded from this Class are the Defendants, the officers, directors or
            employees of any Defendant; any entity in which any Defendant has a
            controlling interest; and any affiliate, legal representative, heir or assign of
            any Defendant. Also excluded from this Class are any federal, state or local
            governmental entities, any judicial officer presiding over this action and the
            members of his/her immediate family and judicial staff, any juror assigned
            to this action, and any Co-Conspirator identified in this action.

Cert. Order at 4-5 (the “Certified Class”), and at 69 (granting class certification).



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            On March 31, 2025, the Court denied motions for summary judgment brought by

all remaining Defendants in the DPP case (Tyson, Clemens, Triumph, and Agri Stats). See

ECF No. 2929. At the time of the Settlements, trial was set for June 2, 2025.

            These latest three Settlements are in addition to four settlements DPPs previously

reached in this case. On November 17, 2020, DPPs and the JBS Defendants entered into a

settlement that provided for a payment of $24,500,000 and meaningful cooperation.

(Pearson Decl. ¶ 5.) The Court granted final approval of that settlement on July 26, 2021.

(See ECF No. 838.) On June 29, 2021, DPPs and the Smithfield Defendants entered into a

settlement that provided for a payment of $83 million7 and meaningful cooperation.

(Pearson Decl. ¶ 5.) The Court granted final approval of that settlement on January 31,

2022. (See ECF No. 1154.) On June 12, 2023, DPPs and Seaboard Foods LLC entered into

a settlement that provided for a payment of $9,750,000 and meaningful cooperation.

(Pearson Decl. ¶ 5.) The Court granted final approval of that settlement on March 5, 2024.

(See ECF No. 2137.) On March 29, 2024, DPPs and Hormel Foods Corporation entered

into a settlement that provided for a payment of $4,856,000 and meaningful cooperation.

(Pearson Decl. ¶ 5.) The Court granted final approval of that settlement on October 3, 2024.

(See ECF No. 2618.) Notice to the DPP Class of these prior settlements was approved by

the Court and successfully implemented by A.B. Data, Ltd. (the Court-appointed




    7
     The Smithfield settlement was subject to a $5,635,700 reduction based on the opt-outs
received during the settlement administration process. The total net amount paid by
Smithfield equaled $77,364,300. (See Pearson Decl. ¶ 5.)


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Settlement Administrator, see ECF Nos. 631, 845, 2014, 2218) each time. (See ECF Nos.

838, 1154, 2137, 2618.)

            As with these prior approved settlements, DPP Co-Lead Class Counsel performed

a thorough investigation prior to reaching these proposed Settlements with the Settling

Defendants and, given that the case has proceeded for nearly seven years, and that class

certification proceedings, fact discovery, and summary judgment proceedings were

completed by the time of the Settlements, Co-Lead Class Counsel were well informed by

the time the parties agreed to settle. (See Pearson Decl. ¶¶ 8, 9, 14, 15) These Settlements,

the terms of which are detailed in this brief and the supporting documents, represent a

significant recovery for DPPs based on the record.

III.        THE PROPOSED SETTLEMENTS MEET THE STANDARDS FOR
            PRELIMINARY APPROVAL

            Parties proposing to settle a class action must obtain the court’s approval of the

settlement. Fed. R. Civ. Proc. 23(e). Federal Rule of Civil Procedure (“Rule”) 23(e)

contemplates a sequential process for courts evaluating class action settlements. At this

preliminary approval stage, the court determines whether the settlement is within the range

of possible approval and whether class members should be notified of the terms of the

proposed settlement. White v. Nat’l Football League, 822 F. Supp. 1389, 1399 (D. Minn.

1993); 2 NEWBERG ON CLASS ACTIONS, § 11.24 (3d ed. 1992) (“The first step in district

court review of a class action settlement is a preliminary, pre-notification hearing to

determine whether the proposed settlement is ‘within the range of possible approval.’”).

Generally, before directing notice to the class members, a court makes a preliminary



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evaluation of the proposed class action settlement pursuant to Rule 23(e). See MANUAL

FOR COMPLEX LITIG., § 21.632 (4th ed. 2004). “At the preliminary approval stage, the ‘fair,

reasonable, and adequate’ standard is lowered, with emphasis only on whether the

settlement is within the range of possible approval due to an absence of any glaring

substantive or procedural deficiencies.” Schoenbaum v. E.I. Dupont De Nemours & Co.,

No. 4:05-CV-01108-ERW, 2009 WL 4782082, at *3 (E.D. Mo. Dec. 8, 2009) (citing

White, 836 F. Supp. at 1466).

            If the court preliminarily approves the settlement and authorizes notice to the class,

and once the class has had the opportunity to consider the settlement, then on final approval

the court must determine whether the settlement is “fair, reasonable and adequate.” Fed. R.

Civ. Proc. 23(e); see also, e.g., Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th

Cir. 1975). The court has broad discretion in evaluating a class action settlement. Van Horn

v. Trickey, 840 F.2d 604, 606-07 (8th Cir. 1988). The law strongly favors resolving

litigation through settlement, particularly in class actions. White, 822 F. Supp. at 1416

(“The policy in federal court favoring the voluntary resolution of litigation through

settlement is particularly strong in the class action context.”) (citation omitted); In re Zurn

Pex Plumbing Prods. Liab. Litig., No. 08-MDL-1958, 2012 WL 5055810, *6 (D. Minn.

Oct. 18, 2012). “The judicial policy favoring settlement . . . rests on the opportunity to

conserve judicial resources, not expend them further.” Stewart v. M.D.F., Inc., 83 F.3d 247,

252 (8th Cir. 1996) (citations omitted).

            DPPs respectfully submit that the proposed Settlement Agreements with the Settling

Defendants satisfy the preliminary approval standard and should be approved by the Court.


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            A.     The Proposed Settlements are the Result of Arm’s-Length Negotiations
                   Conducted After Extensive Investigation and Discovery, and are
                   Supported by Experienced Class Counsel

            “The Court is entitled to rely on the judgment of experienced counsel in its

evaluation of the merits of a class action settlement.” In re Emp. Benefit Plans Sec. Litig.,

No. 3-92-708, 1993 WL 330595, *5 (D. Minn. June 2, 1993) (citation omitted); see also

Welsch v. Gardebring, 667 F. Supp. 1284, 1295 (D. Minn. 1987) (affording “great weight”

to opinions of experienced counsel). Courts attach “[a]n initial presumption of fairness . . .

to a class settlement reached in arm’s-length negotiations between experienced and capable

counsel after meaningful discovery.” Grier v. Chase Manhattan Auto Fin. Co., No. A.99-

180, 2000 WL 175126, *5 (E.D. Pa. Feb. 16, 2000); see also Grunin, 513 F.2d at 123;

White, 836 F. Supp. at 1476-77.

            Indeed, courts consistently find that the terms of a settlement are appropriate where

the parties, represented by experienced counsel, have engaged in extensive negotiations at

an appropriate stage in the litigation and can properly evaluate the strengths and

weaknesses of the case and the propriety of the settlement. See, e.g., In re Emp. Benefit

Plans Sec. Litig., 1993 WL 330595, at *5 (noting that “intensive and contentious

negotiations likely result in meritorious settlements . . . .”); In re Zurn Pex Plumbing Prods.

Liab. Litig., No. 08-MDL-1958, 2013 WL 716088, *6 (D. Minn. Feb. 27, 2013) (observing

that “[s]ettlement agreements are presumptively valid, particularly where a ‘settlement has

been negotiated at arm’s-length, discovery is sufficient, [and] the settlement proponents

are experienced in similar matters . . . .’”) (citation omitted). When, as here, experienced

counsel represent the parties, and rigorous negotiations were conducted at arms’ length,


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the judgment of the litigants and their counsel concerning the adequacy of the settlement

should be considered. See Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1149 (8th Cir. 1999);

DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1178 (8th Cir. 1995).

            Here, the parties to the Settlements have had ample opportunity to assess their

claims and defenses through investigation, discovery, research, settlement discussions, and

contested motion practice, including motions for summary judgment, and to balance the

value of Certified Class members’ claims against the substantial risks and expense of

continuing litigation. The proposed Settlements come after extensive confidential,

protracted arm’s-length negotiations between Co-Lead Class Counsel and each of the

Settling Defendants, separately. (See Pearson Decl. ¶¶ 6, 8, 10, 14.) The hard-fought

negotiations were kept confidential as the parties vigorously litigated the case, including

during the time that the motions for summary judgment were being argued and under

submission. (Id.) The negotiations included many conferences and written exchanges

between counsel. (Id.) The parties ultimately executed the Settlement Agreements in April,

2025. (See id. ¶¶ 11-13); see also Settlement Agreements.) Throughout all of these

settlement discussions, counsel for DPPs focused on obtaining the best possible result for

the DPP Certified Class. (Pearson Decl. ¶ 8.)

            With regard to Tyson, after engaging in initial discussions the parties agreed to

retain Judge Daniel Weinstein (ret.), a nationally renowned mediator. (Pearson Decl. ¶ 11.)

The settlement negotiations with Tyson were thorough and extensive. With the assistance

of Judge Weinstein, DPPs and Tyson exchanged mediation briefs, made presentations

addressing the merits of the case, and exchanged settlement offers and demands. (Id.) This


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process included numerous conferences with Judge Weinstein and his team, two

videoconference mediations, as well as other discussions. (Id.) None of these efforts

resulted in a settlement, and there were times when it appeared that the parties had reached

an impasse. (Id.) Following the Court’s Order on Defendants’ motions for summary

judgment (ECF No. 2929), the parties continued to negotiate regarding the settlement

terms, ultimately executing the Tyson Settlement Agreement on April 15, 2025. (See Tyson

Settlement Agreement; see also Pearson Decl. ¶ 11.)

            In sum, the Settlement Agreements: (1) are the result of extensive good-faith and

hard-fought negotiations between knowledgeable and skilled counsel; (2) were entered into

after extensive factual investigation and legal analysis; and (3) in the opinion of

experienced class counsel, are fair, reasonable, and adequate. Based on the monetary

compensation and the stage of the litigation, Co-Lead Class Counsel believes the

Settlement Agreements are in the best interests of the Certified Class members and should

be approved by the Court. (Pearson Decl. ¶ 15.)

            B.    The Settlements Provide Significant Relief to the DPP Class and Should
                  be Preliminarily Approved by the Court

            The Settlements with the Settling Defendants provide substantial relief to the

Certified Class. Tyson has agreed to pay $50 million plus up to $2 million for notice and

administration costs. (See Tyson Settlement Agreement ¶¶ 10, 6.b.) Clemens has agreed to

pay $10 million. (See Clemens Settlement Agreement ¶ 10.) Triumph has agreed to pay

$4 million. (See Triumph Settlement Agreement ¶ 10.) Under the terms of the Settlement

Agreements, within 14 days of the Court’s preliminary approval of the Settlements, each



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of the Settling Defendants will deposit the settlement proceeds into separate interest-

bearing escrow accounts.8 (See Settlement Agreements ¶¶ 9-10.) Upon the Court’s later

approval, the Settlement Funds will be used to compensate the Certified Class for the

damages suffered and expenses incurred, including attorneys’ fees, litigation expenses, and

the costs of notice. (Pearson Decl. ¶¶ 16, 19.) The Settlement Agreements do not contain

any reduction or termination provisions. (Id. ¶ 7.)

            In consideration for these Settlements, DPPs and the Certified Class agree to release

certain Released Claims (as defined in the Settlement Agreements) against the Tyson,

Clemens, and Triumph Released Parties (as defined in the Settlement Agreements). (See

Settlement Agreements ¶¶ 10, 14, 15.) The release does not extend to any other Defendants

or co-conspirators, or to unrelated claims for breach of contract, negligence, personal

injury, bailment, failure to deliver lost goods, damaged or delayed goods, product defect,

or securities claims. (Id. ¶¶ 14, 15.)

            In sum, DPP Class Counsel believe the Settlements with the Settling Defendants

provide substantial monetary relief to the Certified Class and fall well within the range of

possible approval. For these reasons, DPPs respectfully submit that the Court should grant

preliminary approval to the Settlement Agreements and authorize notice to the Certified

Class. See White, 822 F. Supp. at 1399; 2 NEWBERG ON CLASS ACTIONS, § 11.24.




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    Plaintiffs respectfully request that the Court appoint Huntington Bank as the Escrow
Agent.


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IV.         THE SETTLEMENTS ARE ON BEHALF OF A CERTIFIED CLASS

            As noted above in Section II, on March 29, 2023, the Court granted DPPs’ motion

for class certification and certified the DPP Class. (Cert. Order at 4-5, 69.) “If the court has

certified a class prior to settlement, it does not need to re-certify it for settlement purposes.”

4 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS, § 13:18 (6th ed.). Here, the parties do

not request any changes to the Certified Class, so the Court need not re-certify it. Therefore,

the class certification analysis under Rule 23 has been completed.

V.          IN APPROVING THESE SETTLEMENTS THE COURT NEED NOT
            PROVIDE AN ADDITIONAL OPPORTUNITY TO OPT OUT

            The Court previously certified the Class on March 29, 2023. (See Cert Order.).

Thereafter, on August 25, 2023, the Court approved a notice program that provided

Certified Class members a final opportunity to exclude themselves from the Class. (See

ECF No. 2014.) Specifically, the long form class notice provided the following notice to

Certified Class Members:

            The notice provides Class Members with an opportunity to opt out of the
            Settlement, the Certified Class defined above, or both. If you exclude
            yourself from both the Settlement and the Certified Class, you will not
            receive any of the Settlement benefits and cannot participate in any future
            settlements on behalf of the Certified Class and will not be bound by any
            future judgments. If you exclude yourself from only the Certified Class, but
            not the Settlement, you will receive the benefits of the Settlement, but cannot
            participate in any future settlements on behalf of the Certified Class and will
            not be bound by any future judgments. If you exclude yourself from only the
            Settlement, you will not receive any of the Settlement benefits and you will
            remain in the Certified Class and be bound by future settlements and
            judgments. …

            If you do not exclude yourself from the Certified Class, you will be
            bound by any judgment or future settlement with the Non-Settling
            Defendants and may not have another opportunity to exclude yourself.


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            If you have a pending lawsuit against one or more of the Non-Settling
            Defendants or Seaboard, speak to your lawyer in that lawsuit immediately to
            determine whether you must exclude yourself from this Class or the
            Settlement to continue your lawsuit.

Id. (emphasis added).

            While Rule 23(e)(4) grants district courts the discretion to afford class members of

a previously-certified class an additional opt-out opportunity, it is often unnecessary9 and

the Rules Committee has urged district courts to exercise their discretion to allow

additional opt-out opportunities with caution,10 as “a second opt-out opportunity might

inject additional uncertainty into settlement and create opportunities unrelated to the

purpose of the second opt-out, potentially defeating some settlements and making others

more costly.” See Certification of a settlement class—No additional opportunity to opt-out

at settlement stage if class already certified, 2 MCLAUGHLIN ON CLASS ACTIONS, § 6:21

(19th ed.) (quoting and citing MANUAL FOR COMPLEX LITIGATION (4th), § 22.611 at 313);

In re Lumber Liquidators Chinese-Manufactured Flooring Prod. Mktg., Sales Pracs. &

Prod. Liab. Litig., No. 1:15-md-2627, 2022 WL 2128630, *6 n.9 (E.D. Va. 2022)).


    9
      See Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1289 (9th Cir. 1992) (holding
that “Class Members were given notice of the action and afforded an opportunity to opt-
out [when litigation class was certified and] also were given notice of the proposed
settlement and afforded the opportunity to object. This is all that Rule 23 requires.”);
DaSilva v. Esmor Correctional Servs. Inc., 215 F.R.D. 477, 483 (D.N.J. 2003), aff’d, 167
Fed. App’x. 303 (3d Cir. 2006) (“In class action litigation ‘potential class members retain
the option to participate in or withdraw from the class action only until a point in the
litigation “as soon as practicable after the commencement” of the action when the suit is
allowed to continue as a class action and they are sent notice of their inclusion within the
confines of the class.’ ”) (quoting American Pipe & Const. Co. v. Utah, 414 U.S. 538, 549
(1974)).
    10
     See 2003 Report of the Judicial Conference, Committee on Rules of Practice and
Procedure (commentary on amended Rule 23(e)(3)) [now (e)(4)].


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            This class action lawsuit has been litigated for nearly seven years, and Class

members have received several notices of its progress, including notice of the Certified

Class. Now, the litigation, its progress, and its prospects are well known to members of the

DPP Class, and have proceeded past summary judgment and close to trial. Co-Lead Class

Counsel respectfully submit that an additional opportunity to opt out is unnecessary.11

VI.         THE COURT SHOULD APPROVE THE PROPOSED NOTICE PLAN

            DPPs respectfully request the Court’s approval of the notice plan set forth herein.

Plaintiffs have retained A.B. Data, Ltd. to administer the notice plan. A.B. Data is an

experienced national class action notice provider and claims administrator and Court-

appointed administrator of the JBS, Smithfield, Seaboard, and Hormel Foods settlements,

as well as the claims and distribution process. (Declaration of Eric Schachter (“Schachter

Decl.”) filed concurrently herewith, ¶¶ 1-5, Ex. F; ECF Nos. 631, 845, 1208, 2014, 2218.)

            The notice documents define the Class, describe the nature of the action, summarize

the Class claims, and provide direct purchasers of Pork notice of:

            •     The terms of the Tyson, Clemens, and Triumph Settlements, and the
                  procedures for objecting thereto;

            •     Co-Lead Class Counsel’s second request for payment of attorney’s fees (not
                  to exceed 33⅓% of the Seaboard, Hormel Foods, Tyson, Clemens, and
                  Triumph settlement proceeds plus interest)12 and Class Representative



      11
      The proposed notice allows Class members to object to one or more of the proposed
Settlements, should they so choose. See Section VI below.
      On July 22, 2022, the Court awarded interim attorney’s fees equal to 33⅓% of the
      12

JBS and Smithfield settlements. (See ECF No. 1424.) Therefore, Co-Lead Class Counsel’s
forthcoming fee request will be limited to payment pro rata from the Seaboard, Hormel
Foods, Tyson, Clemens, and Triumph settlements.


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                  service awards (not to exceed $25,000 per Class Representative),13 and the
                  procedures for objecting thereto;14

            •     The claims process for the settlements with Seaboard, Hormel Foods, Tyson,
                  Clemens, and Triumph (which total $78,606,000 plus interest);15 and

            •     The date, time, and place of the final approval hearing (once that hearing is
                  set by the Court), and the fact that Class members do not need to enter an
                  appearance through counsel, but may do so if they choose.

            The proposed Notice Plan also will tell DPPs that unless they want to amend or

supplement their initial claim, those who submitted a qualified claim in the first claims

process will not be required to take any additional steps to receive their pro rata portion of

the net settlement proceeds. Class members who did not participate in the first claims




    13
      On July 22, 2022, the Court awarded service awards of $25,000 to each Maplevale
Farms, Inc., John Gross and Company, Inc., Ferraro Foods, Inc. and Ferraro Foods of North
Carolina, LLC, and Olean Wholesale Grocery from the JBS and Smithfield settlements.
(See ECF No. 1424.) When the Court certified the litigated class, it did not approve Plaintiff
John Gross and Company, Inc. as a Class Representative (see ECF No. 1887). Therefore,
Gross will not request a service award in the upcoming motion. Co-Lead Class Counsel’s
forthcoming second request for Class Representative service awards will be limited to
payment pro rata from the Seaboard, Hormel Foods, Tyson, Clemens, and Triumph
settlements, and the proposed notice to the Class will say as much.
    14
      Co-Lead Class Counsel previously sought the payment of up to $5 million in incurred
and future litigation expenses from the JBS and Smithfield settlements, which was
approved by this Court. (See ECF No. 1424.) Additionally, in conjunction with the
Seaboard and Hormel Foods settlements, Co-Lead Class Counsel sought payment of
$1,460,600.00 as a replenishment of the future litigation expense fund, which was
approved by this Court. (See ECF No. 2617.) The details of the litigation expenses incurred
will be fully set forth in the forthcoming motion for payment of attorneys’ fees and class
representative service awards, but as of the filing of this Motion the previously approved
future litigation expense fund remains capitalized. (See Pearson Decl. ¶ 16.)
    15
       Proceeds from the JBS and Smithfield settlements have already been distributed to
qualified claimants. (See ECF No. 2204.) Therefore, the second claims process and
distribution will be limited to payment pro rata from the Seaboard, Hormel Foods, Tyson,
Clemens, and Triumph.


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process will have the opportunity to submit Claim Forms via mail, email, or using the

Settlement Website. (See Schachter Decl. Ex. C.) Class members will be able to review

their Pork purchase records, based on Defendants’ records, on the settlement website. Class

members may choose to rely on those purchase amounts, or may submit documentation to

correct or update their purchase amounts if they choose to do so.16 (See Schachter Decl. ¶

9.)

            In the event that after the distribution (and any redistribution, if appropriate)

insufficient settlement proceeds remain to support a further distribution, the proposed

notice also includes the disclosure that Co-Lead Class Counsel may move the Court for

approval of a potential cy pres recipient. DPPs will explain and set forth the parameters of

any such distribution(s) in a yet-to-be-filed motion. By disclosing this course of action at

this time, it is DPPs’ intention that further notice regarding the distribution, including the

potential cy pres recipients, will not be required.

            A.    The Content and Form of the Proposed Notices Are Fairly Balanced,
                  Easy to Read, and Contain All Rule 23 Notice Requirements

            For a class proposed under Rule 23(b)(3), whether litigated or by virtue of a

settlement, Rule 23(c)(2)(B) states:

                  The notice must clearly and concisely state in plain, easily
                  understood language: (i) the nature of the action; (ii) the
                  definition of the class certified; (iii) the class claims, issues, or
                  defenses; (iv) that a class member may enter an appearance

      16
      The Purchase Audit Request form (see Schachter Decl. Ex. D.)will be available to
Class members on the Settlement Website should any claimant wish to provide additional
information. The Purchase Audit Request form and any supporting documentation will
then be reviewed by the Settlement Administrator and, if necessary, Co-Lead Class
Counsel.


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                  through an attorney if the member so desires; (v) that the court
                  will exclude from the class any member who requests
                  exclusion; (vi) the time and manner for requesting exclusion;
                  and (vii) the binding effect of a class judgment on members
                  under Rule 23(c)(3).

Under Rule 23(e), Class Members are entitled to reasonable notice of the proposed

Settlement. See MANUAL FOR COMPLEX LITIG., §§ 21.312, 21.631 (4th ed. 2011). The form

of notice is “adequate if it may be understood by the average class member.” 4 NEWBERG

ON CLASS ACTIONS, § 11.53 (4th ed. 2002). Class notice is intended as a summary, rather

than a complete source of information. See Petrovic, 200 F.3d at 1153; Mangone v. First

USA Bank, 206 F.R.D. 222, 233 (S.D. Ill. 2001). “Valid notice of a settlement agreement

‘may consist of a very general description’ of settlement terms.” In re Uponor, Inc. F1807

Plumbing Fittings Prods. Liab. Litig., 716 F.3d 1057, 1065 (8th Cir. 2013) (quoting

Grunin, 513 F.2d at 122). The class notice’s form and content are committed to a district

court’s sound discretion. See Mangone, 206 F.R.D. at 231.

            Settlement notice must be “‘reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and afford them an opportunity to

present their objections.’” Petrovic, 200 F.3d at 1153 (quoting Mullane v. Central Hanover

Bank & Trust Co., 339 U.S. 306, 314 (1950)). The notice conforms to the seven plain

language requirements of Rule 23(c)(2)(B) and states the following information: (1) the

nature of the action; (2) the definition of the Class certified; (3) the class claims, issues, or

defenses; (4) that a Class member may enter an appearance through an attorney if the

member so desires; (5) that a Class member may object to one or more of the Settlements

and the process for doing so; (6) that the exclusion period has passed; and (7) the binding


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effect of a Class judgment. See Fed. R. Civ. Proc. 23(c)(2)(B)(i)-(vii); Schachter Decl. Exs.

A, B. With this and the other information they contain, the notices’ contents address

material information required.

            The notices avoid legalese in favor of modern language and provide a toll-free

number and website link to direct Class members to additional sources of information,

including pleadings and orders from the case. Accordingly, the proposed notices provide

the best written notice practicable to Class members.

            B.    The Proposed Notice Plan Provides the Best Notice Practicable Under
                  the Circumstances

            Federal case law asserts notice must be “the best practicable” under the

circumstances to apprise interested parties of the pending settlement and provide them an

opportunity to object. Taqueria El Primo LLC v. Illinois Farmers Ins. Co., 630 F. Supp.

3d 1121, 1125 (D. Minn. 2022) (citing Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812

(1985)). “Notice of a settlement proposal need only be as directed by the district court, Fed.

R. Civ. P. 23(e), and reasonable enough to satisfy due process.” DeBoer, 64 F.3d at 1176

(citing Grunin, 513 F.2d at 120–22). Best notice practicable means “individual notice to

all members who can be identified through reasonable effort.” Eisen v. Carlisle &

Jacquelin, 417 U.S. 156, 173 (1974). Notice that is mailed to each member of a settlement

class “who can be identified through reasonable effort” constitutes reasonable notice. Id.

at 176. In addition to United States mail, direct notice may be by electronic means or other

appropriate means. Fed. R. Civ. Proc. 23(c)(2)(B); see, e.g., DeBoer, 64 F.3d at 1176

(finding notice through mail and in a printed national publication to be sufficient, even if



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it was “neither extensive nor remarkably thorough.”); Taqueria El Primo LLC, 630 F.

Supp. 3d at 1127 (approving the use of email and postcard notice). If names and addresses

cannot be identified by reasonable effort then, other methods may be substituted. See, e.g.,

Pollard v. Remington Arms Co., LLC, 320 F.R.D. 198, 211 (W.D. Mo. 2017), aff’d, 896

F.3d 900 (8th Cir. 2018) (approving the use of social media and email to notice potential

class members when names and addresses were not readily available from existing

records); Hashw v. Dep’t Stores Nat’l Bank, 182 F. Supp. 3d 935, 946 (D. Minn. 2016)

(approving notice through national publications when data was missing for a portion of the

class).

            The proposed notice plan in this case satisfies these criteria and is the same as the

notice plan previously approved by the Court in the JBS, Smithfield, Seaboard, and Hormel

Foods settlements. (See ECF Nos. 631, 845, 2014, 2218.) DPPs also completed the claims

process for the JBS and Smithfield settlements, which has resulted in updated contact

information for Class members. (See ECF No. 1864.) Thus, DPPs propose to the Court a

plan of notice that comports with due process and provides reasonable notice to known and

reasonably identifiable customers of the Defendants pursuant to Rule 23. The notice

documents, consisting of the long form, short form, and publication notice, comply with

the requirements of Rule 23(c)(2)(B). (See Schachter Decl. Exs. A (long form), B (short

form), E (publication).) The notice documents define the Certified Class, describe the

nature of the action, summarize the Class claims, inform the Class members that DPPs will

move for payment of attorneys’ fees and Class Representative service awards, describe the

claims and distribution process, and explain the procedure to object to the proposed


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Settlements and/or the fees and service awards request. (Id.) The notice documents describe

the terms of the Settlement Agreements and inform the Certified Class members of the

claims and distribution process. (Id.) The notice documents will provide the date, time, and

place of the Final Fairness Hearing (once that hearing is set by the Court) and will inform

Certified Class members that they do not need to enter an appearance through counsel, but

may do so if they choose. (Id.)

            The claims and notice administrator, A.B. Data, is very familiar with providing such

notice to DPP Class members from working with multiple settlements with notice,

settlement claims, and distribution. The target audience for this notice plan is businesses

and individuals that purchased the subject Pork. Defendants maintained and produced

records showing addresses for the vast majority of Class members. Accordingly, A.B. Data

has developed a multi-method campaign for the notice plan based on and similar to notice

campaigns the Court approved for earlier settlements.

                   1.     Direct-Mailed Notice to Class Members with Known Street
                          Addresses

            DPPs propose to send paper long-form notices to Class members with addresses that

are reasonably accessible based on records produced by Defendants. (Schachter Decl.

Ex. A.) The long-form notice will be sent to approximately 55,000 mailing addresses

associated with potential Class members in this manner. (Schachter Decl. ¶¶ 7, 8.) A.B.

Data        will   also   post   the   long-form    notice   on   the   existing   case   website,

https://porkantitrustlitigation.com. (Id.) A.B. Data will track mail that the post office




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returns as undeliverable, and where feasible will resend using third-party information

providers. (Id. ¶ 10.)

                  2.     Direct-E-Mailed Notice to Class Members with Known E-Mail
                         Addresses

            The notice rule states notice may be given by one or more methods, including

electronic mail. Fed. R. Civ. Proc. 23(c)(2)(B). A.B. Data will send an email notice,

Schacter Decl. Ex. B, to the approximately 3,000 email addresses associated with potential

Class members. (Id. ¶ 8.) A.B. Data implements certain best practices to increase

deliverability and determine how many emails are successfully delivered. (Id. ¶ 10.)

            The Email Notice will provide Class members with an electronic link to the case

website, https://porkantitrustlitigation.com. (Id. ¶ 8.) The website provides more detailed

information including case documents and the long form notice.

                  3.     Media Publication Campaign

            When not all Class members can be identified through reasonable effort, “there is

no other requirement of mandatory individual notice, and the Court must exercise its

discretion to provide the best notice practicable under the circumstances.” In re Domestic

Air Transp. Antitrust Litig., 141 F.R.D. 534, 539, 539 (N.D. Ga. 1992); see also Mullane,

339 U.S. at 317 (approving of publication as a substitute for individual notice); In re Zurn

Pex Plumbing Prods. Liab. Litig., 2013 WL 716088 at *6 (finding notice by publication

sufficient where “class members cannot be identified for purposes of sending individual

notice”); In re Uponor, Inc., F1807 Plumbing Fittings Prods. Liab. Litig., No. 11–MD–

2247 ADM/JJK, 2012 WL 13065005, at *5 (D. Minn. Jan. 19, 2012) (finding notice by



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publication sufficient where class members cannot be identified for purposes of sending

individual notice); Aranda v. Caribbean Cruise Line, Inc., No. 12 C 4069, 2017 WL

818854 at *2 (N.D. Ill. March 2, 2017) (publication permissible if class members not

reasonably identifiable), affirmed sub nom. Birchmeier v. Caribbean Cruise Line, Inc., 896

F.3d 792 (7th Cir. 2018); Birchmeier v. Caribbean Cruise Line, Inc., 302 F.R.D. 240, 255

(N.D. Ill. 2014) (“making broad-based forms of notice appropriate”). For those Class

members whose addresses and email addresses are not reasonably accessible, A.B. Data

has developed a public awareness media campaign similar to campaigns used for prior

settlements in this case.

            This media campaign will include posting on multiple websites. A.B. Data will

publish a banner ad like Exhibit E to the Schacter Declaration. The Banner Ad will run in

Supermarket News (www.supermarketnews.com) and Nation’s Restaurant News

(www.nrn.com). The ads will run for four weeks. (Schachter Decl. ¶ 11.)

                  4.     Informational Web Site And Toll-Free Telephone Number

            To provide detailed information about the case and specific information to Class

members, A.B. Data will update and continue to operate and monitor the case website for

this case at https://porkantitrustlitigation.com. (See Schachter Decl. ¶¶ 8, 9, 12.)

VII.        THE COURT SHOULD SCHEDULE A FINAL FAIRNESS HEARING

            The last step in the settlement approval process is the Final Fairness Hearing, at

which the Court may hear all evidence necessary to evaluate and determine whether to

grant final approval to the proposed Settlements. At that hearing, proponents of the

Settlement may explain and describe their terms and conditions and offer argument in


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support of the Settlement’s approval, and members of the Certified Class or their counsel

may be heard regarding the proposed Settlements if they choose. DPPs propose the

following schedule of events necessary for disseminating notice to the Certified Class and

the Final Fairness Hearing.

 DATE                                  EVENT
 Within 10 days of the filing of       Deadline for the Settling Defendants to serve
 this Motion for Preliminary           appropriate Federal and State officials with all
 Approval.                             required materials pursuant to the Class Action
                                       Fairness Act of 2005, 28 U.S.C. § 1715.
 Within 14 days of the Court’s         Settlement Administrator to provide direct mail and
 Order on this Motion for              email notice, and commence implementation of the
 Preliminary Approval.                 notice plan.
                                       DPPs to file their Motion for Payment of Attorneys’
                                       Fees and Class Representative Service Awards.
 30 days after the commencement        Last day for Certified Class members to file
 of Notice.                            additional claims or challenge calculated purchase
                                       amounts; object to the Settlements; object to DPPs’
                                       Motion for Payment of Attorneys’ Fees and Class
                                       Representative Service Awards; and for Certified
                                       Class members to file notices to appear at the Final
                                       Fairness Hearing.
 14 days before Final Settlement       Co-Lead Class Counsel shall file for final approval
 Fairness Hearing.                     of the Settlements and all supporting papers, and
                                       respond to any objections.
 No sooner than 90 days after          Final Fairness Hearing and hearing on DPPs’
 mailing of CAFA Notices.17            Motion for Payment of Attorneys’ Fees and Class
                                       Representative Service Awards.



    17
      Under the terms of each Settlement Agreement (¶ 23), within 10 days of the filing of
this Motion for Preliminary Approval, each Settling Defendant will serve appropriate
Federal and State officials with all required materials pursuant to the Class Action Fairness
Act of 2005, 28 U.S.C. § 1715. Under the Act, this Court may not enter an order giving
final approval of the proposed settlement earlier than 90 days after the later of the dates on
which the appropriate Federal official and the appropriate State official are served with the
notice required under 28 U.S.C. § 1715 (b). DPPs’ proposed timetable and “no sooner than”

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VIII. CONCLUSION

            For these reasons, DPPs respectfully request that the Court preliminarily approve

the Settlements with Tyson, Clemens, and Triumph, approve the proposed notice plan for

dissemination to the Certified Class, and schedule the Final Fairness Hearing for the

Settlements.

 Date: April 22, 2025

 /s/ Michael H. Pearson                           /s/ Brian D. Clark
 Clifford H. Pearson (Pro Hac Vice)               W. Joseph Bruckner (MN #0147758)
 Daniel L. Warshaw (Pro Hac Vice)                 Brian D. Clark (MN #0390069)
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 Direct Purchaser Plaintiffs Co-Lead Class
 Counsel


Final Settlement Fairness Hearing date proposed above will allow time for the notice
required under the Act.


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